                 Case 2:18-cr-00104-KJM Document 94 Filed 04/30/19 Page 1 of 2



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 5 Attorney for MICHAELANGELO SANCHEZ

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9 THE UNITED STATES OF AMERICA,          )               No. 18-cr-104 KJM
                   Plaintiff,             )
10
                                          )               STIPULATION AND [PROPOSED]
11         v.                             )               ORDER REGARDING
                                          )               DELETING HOME DETENTION
12   MICHAELANGELO SANCHEZ,               )               CONDITION
                                          )
13                                        )
14                     Defendant.         )               Judge: Hon. Alison Claire
     _____________________________________)
15

16          After consultation with Pre-Trial Services Officer Darryl Walker, defendant Michaelangelo
17 Sanchez, by and through his undersigned attorney of record, and the United States of America, by

18 and through undersigned Assistant U.S. Attorney Amanda Beck, hereby stipulate as follows:

19          1.      Michaelangelo Sanchez is presently on supervised release.
20          2.      His conditions of supervised release include home detention – condition 14. (Dkt.
21 No. 14.)

22          3.      The home detention condition can be deleted by the Court.
23          4.      The government does not oppose this modification of release conditions.
24          5.      Defense counsel has spoken to Mr. Sanchez’s Pretrial Services Officer, Darryl
25 Walker. Mr. Walker informed defense counsel that Mr. Sanchez has complied with all of his

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              Case 2:18-cr-00104-KJM Document 94 Filed 04/30/19 Page 2 of 2



 1 special and standard conditions for the past number of months and he does not oppose this

 2 modification of Mr. Sanchez’s pre-trial release conditions.

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     Dated: April 29, 2019                               Respectfully submitted,
 4
                                                         /s/ Michael D. Long
 5
                                                         MICHAEL D. LONG
 6                                                       Attorney for Michaelangelo Sanchez

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 8
     Dated: April 29, 2019                               McGREGOR SCOTT
 9                                                       United States Attorney
10                                                       /s/ Amanda Beck
11                                                       AMANDA BECK
                                                         Assistant U.S. Attorney
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13                                       [PROPOSED] ORDER

14          Good cause appearing and having been shown, the Court hereby adopts the parties’

15 stipulation as its order.

16          SO ORDERED.

17 Dated: April 29, 2019

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